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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,
                                               Case No. 8:21-cv-02231-TPB-JSS
vs.

EDWARD LUBIN, M.D.,

      Defendant.
_________________________________/

                THE UNITED STATES OF AMERICA’S
         UNOPPOSED MOTION FOR SETTLEMENT CONFERENCE

       The United States of America respectfully requests a settlement conference

before a U.S. Magistrate Judge and in support thereof state as follows:

      1. This is a civil action brought under the false claims act, 31 U.S.C. §§ 3729-

33, alleging that Dr. Edward Lubin caused the submission of prescriptions to federal

healthcare programs that were medically unnecessary or tainted by an illegal

kickback arrangement with Insys Therapeutics, Inc.

      2. This case is currently in discovery. The United States disclosed its expert on

October 31, 2022. Defendant’s expert disclosure deadline is December 5, 2022, and

Plaintiff’s rebuttal expert disclosure deadline is January 7, 2023. Discovery closes on

February 1, 2023.

      3. This case was previously mediated before the United States filed suit, and

the parties agreed on a settlement amount, but were unable to agree on an ancillary

term, and thus did not resolve this matter.
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      4. The United States believes that the assistance of a Magistrate Judge may aid

in resolving this case. Given the history of nearly-successful negotiations, the parties

would benefit from the judicial expertise and structure offered through a settlement

conference before a Magistrate Judge. See Moore v. United States, No. 5:20-cv-108-

CEM-PRL (M.D. Fla. May 16, 2022), ECF No. 52 (granting similar motion, which

ultimately resulted in settlement).

      5. The United States believes that negotiations will be most effective if held via

settlement conference forthwith, as opposed to closer to the trial date.

      6. Due to the impending discovery deadlines, the parties anticipate requesting

a brief extension of the deadlines for Defendant’s expert disclosure, Plaintiff’s

rebuttal expert disclosure, and the discovery cut-off. The parties will contact the

assigned magistrate judge, once designated by the Court, to schedule the settlement

conference as soon as possible. The parties intend to request an extension of the

deadlines in order to attend the settlement conference as soon as practicable without

expending further resources before the settlement conference occurs.

      WHEREFORE, the United States requests that this Court grant this motion

and assign a U.S. Magistrate Judge to preside over a settlement conference in this

case. The parties will work directly with the assigned Magistrate Judge’s chambers to

coordinate a date and time for a settlement conference.




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                           Local Rule 3.01(g) Certification

       Pursuant to Local Rule 3.01(g), undersigned counsel conferred with counsel

 for Defendant, who does not oppose this motion.

 Dated: November 15, 2022                Respectfully submitted,

   SISCO-LAW                             ROGER B. HANDBERG
                                         United States Attorney

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